
PER CURIAM.
As the party alleging fraud, it was the appellant’s burden to prove it by substantial evidence. Tischler v. Robinson, 79 Fla. 638, 84 So. 914 (1920); Volusia County Bank v. Bigelow, 45 Fla. 638, 33 So. 704 (1903). Here, the trial court “weighted] the testimony presented to it with due consideration being given to the particular circumstances surrounding the conveyances under attack. The court’s findings of fact and conclusions of law come to us with a presumption of correctness and will not be disturbed unless they are clearly erroneous.” Scott v. Dansby, 334 So.2d 331, 333 (Fla. 1st DCA 1976). We find no reversible error in the trial court’s ruling.
Affirmed.
GERSTEN and CORTINAS, JJ., concur.
